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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      v.                            )
                                    )                 Crim. Action No. 17-0201-01 (ABJ)
PAUL J. MANAFORT, JR.               )
                                    )
                  Defendant.        )
____________________________________)


                                             ORDER
       The Court requests that the Clerk of Court open a miscellaneous action entitled “In re

Petitions for Relief Concerning Consent Order of Forfeiture.” The Court further requests that this

miscellaneous action be identified as related to Criminal Action 17-201-1, and that the following

docket entries in the criminal matter, [441], [443], [450], [451], and the minute order dated

11/08/2018, setting the deadline for the government’s response to the petition [450], be filed in the

miscellaneous action.

       It is ORDERED that all further filings that relate solely to any petitions for relief from the

Consent Order of Forfeiture [443] shall be made in the miscellaneous action.




                                              AMY BERMAN JACKSON
                                              United States District Judge

DATE: November 13, 2018
